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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
      v.
                                                      CaseNo.:&5
                                                      HON. Gershwin A. Drain

SANTOSH REDDY SAMA,

                    Defendant.
_______________________________________________________/

                MOTION FOR COMPASSIONATE RELEASE
                    UNDER 18 U.S.C. § 3582(c)(1)(A)(i)

      Defendant Santosh Reddy Sama, a federal prisoner at Moshannon Valley

Correctional Facility, through counsel, Jonathan Epstein, Federal Community

Defender, moves this Honorable Court for a compassionate release pursuant to 18

U.S.C. sec. 3582©(1)(A) for extraordinary and compelling reasons.

      In the midst of a resurgence of the Covid-19 pandemic, Mr. Sama suffers from

diabetes, hyperlipidemia and hepatitis and further his presence in India is necessary

for his wife, Mounika Reddy Sama, for his consent and care for life-saving surgery

following a cardiac arrest, and a miscarriage where she lost their child. Mr. Sama

respectfully seeks a release to an ICE detainer so that he can be deported forthwith to

his family home in India to care for his ailing wife, whom on information and belief,

may lose her life without his required care and support.
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      Defendant petitioned the Moshannon Valley Warden in April 2020 and

provided all necessary documentation and, as more than 30 days have elapsed, has

exhausted his administrative remedies. Such documents and exhibits are attached as

exhibits and incorporated herein in support of said Motion. Defendant’s current

release date for deportation is October 12, 2020.

      Section 3582(c)(1)(A) describes when a court may grant a prisoner

compassionate release:

             [T]he court . . . may reduce the term of imprisonment (and
             may impose a term of probation or supervised release with
             or without conditions that does not exceed the unserved
             portion of the original term of imprisonment), after
             considering the factors set forth in section 3553(a) to the
             extent that they are applicable, if it finds that. . . extraordinary and
             compelling reasons warrant such a reduction . . . and that such a
             reduction is consistent with applicable policy statements issued by the
             Sentencing Commission.
      The “applicable policy statements” mentioned in the statute are found in

U.S.S.G. § 1B1.13. The comment to that section identifies the reasons for release

that may rise to the level of “extraordinary and compelling”:

      1. Extraordinary and Compelling Reasons:
      Provided the defendant meets the requirements of
      subdivision (2), extraordinary and compelling
      reasons exist under any of the circumstances set
      forth below:

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             (A) Medical Condition of the Defendant.
             (ii) The defendant is:
             (I) suffering from a serious physical or medical
             condition,
             (II) suffering from a serious functional or cognitive impairment, or;
             (III) experiencing deteriorating physical or mental health because of the
             aging process, that substantially diminishes the ability of the defendant
             to provide self-care within the environment of a correctional facility and
             from which he or she is not expected to recover.
              (C) Family Circumstances.
             (i) The death or incapacitation of the caregiver of the defendant’s minor
             child or minor children.
             (ii) The incapacitation of the defendant’s spouse or registered partner
             when the defendant would be the only available caregiver for the
             spouse or registered partner.


      In this case, Sama pled guilty on May 15, 2019 to conspiracy to commit visa

fraud in relation to the student visa program contrary to 18 U.S.C. sec. 371. Mr. Sama

recruited others into the scheme and received in excess of $160,000 in profits. On

September 10, 2019, he was sentenced to 24 months’ custody of the Bureau of

Prisons. He is currently 29 years old and housed at the Moshannon Valley

Correctional Center in Phillipsburg, Pennsylvania. The facility houses low security

non-violent criminal aliens. He has completed over 16 months or approximately 2/3

of his sentence. His release date to an ICE detainer is October 12, 2020. On



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information and belief, Mr. Sama has an excellent conduct record with no infractions

and is enrolled in educational courses. (Exhibit “1” Sentence Computation).

      While Sama suffers from diabetes, hyperlipidemia and hepatitis (Exhibit “2”

Medical Records), he seeks a compassionate release principally because of his young

wife’s failing health following a miscarriage procedure. While Ms. Sama is only 26

years old, she suffered a cardiac arrest and lost a pregnancy; she requires a surgical

procedure being a hysterectomy and septum resection. (Exhibit 3, Letter and Medical

Records of Mounika Reddy Sama).

      Based on the combination of his and his wife’s condition, subsection ©(ii)

being Defendant’s Family Circumstances mitigate in favor of a compassionate release

to the ICE detainer for immediate deportation. Defendant is a citizen of India where

he has a Master’s Degree in computer science and is easily employable. In India,

Defendant lives with his Wife Mounika Reddy Sama and his mother as his father has

passed away. The family owns the small house where they live and the family is on

government assistance. Further, in India, Sama’s approval and consent are necessary

to his wife’s medical treatment. For these extraordinary and compelling reasons,

Counsel requests the Motion be granted.

      Moreover, another current threat to Mr. Sama is the current COVID-19

pandemic which has now emerged as an unprecedented health crisis affecting more

severely those with compromised conditions like diabetes and hypertension. As the

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Court is well aware, COVID-19 is a viral respiratory illness caused by a novel

coronavirus first identified, in Hubei Province, China, in December 2019.1 The virus is

spreading exponentially. Overall, COVID-19’s basic reproduction number is

somewhere between 2.4 and 3.8, which means that “each newly infected person is

estimated to infect on average 3 additional persons.” Ex. B, Beyrer Dec. ¶ 10. Because

of this, the virus is spreading at a rapidly accelerating rate. Reported recently, a second

wave of the virus is causing new spikes in infectious disease in parts of the country.

              As is well documented, COVID-19 is an extremely dangerous infectious disease

particularly in confined prison spaces. The best estimate for its overall fatality rate—

i.e., its fatality rate among all demographics—is 0.3-3.5%, “which is 5-35 times the

fatality associated with influenza infection.” Beyrer Dec. ¶ 5.2 Fatality rates vary wildly,

however, depending on both environmental and demographic risk factors. COVID-19

causes some population groups to die at far greater rates than others. A person’s

likelihood of dying from this disease varies dramatically depending on two key factors:

(1) their demographic profile and (2) the environment where they live.




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  See CDC, What you need to know about coronavirus disease 2019 (COVID-19), available at
https://www.cdc.gov/coronavirus/2019-ncov/downloads/2019-ncov-factsheet.pdf;
see also NewScientist, Covid-19, available at https://www.newscientist.com/term/covid-
19/.
2
  See also Nick Wilson et al., Case-Fatality Risk Estimates for COVID-19 Calculated by Using
a Lag Time for Fatality, 26(6) EID Journal (prepublication June 2020), available at
https://wwwnc.cdc.gov/eid/article/26/6/20-0320_article.

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              COVID-19’s death rate goes up (1) the older you are and (2) the sicker you are.

People who have heart conditions like hypertension , diabetes, or those who are

immune compromised are at greatest risk.3 In Wuhan, of the hospitalized population

who ended up dying from COVID-19, 48% of them had hypertension, 31% had

diabetes, and 24% had coronary heart disease.4 Masa is more susceptible as his

conditions place him at greater risk of death or serious injury.

              For these reasons, the best epidemiological advice to deal with this national

health emergency is that “[those with chronic conditions predisposing to severe

COVID-19 disease . . . should be considered for release.” Beyrer Dec. ¶ 18. Thus,

incarceration poses a grave public health threat during this crisis. “COVID-19 poses a

serious risk to inmates and workers in detention facilities.” Beyrer Dec. ¶ 11. It is well-

known in the epidemiological community that such facilities are “associated with high

transmission probabilities for infectious diseases.” Beyrer Dec. ¶ 11.5 Outbreaks of the



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   Centers for Disease Control & Prevention, People Who Are at Higher Risk for Severe
Illness, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
at-higher-risk.html (last visited Apr. 16, 2020).
4
 See Fei Zhou et al., Clinical course and risk factors for mortality of adult inpatients with COVID-
19 in Wuhan, China: a retrospective cohort study, Lancet (Mar. 11, 2020), available at https:/
/www.thelancet.com/journals/lancet/article/PIIS0140-6736(20)30566-3/fulltext.
5
  See also Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious
Diseases 45(8):1047-1055, at https://doi.org/10.1086/521910; Laura M. Maruschak et
al. (2015); Medical Problems of State and Federal Prisoners and Jail Inmates, 2011-12.
NCJ 248491. Washington, D.C.: U.S. Department of Justice, Bureau of Justice
Statistics, at https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf.
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flu regularly occur in jails, and during the H1N1 epidemic in 2009, many jails and

prisons dealt with high numbers of cases.6

              When outbreaks occur in prisons, this leads directly to increased spread beyond

the confines of jail. See Beyrer Dec. ¶ 12. “It is therefore an urgent priority in this time

of national public health emergency to reduce the number of persons in detention as

quickly as possible.” Beyrer Dec. ¶ 17 (emphasis added).

              In sum, in light of the continuous spread on Covid-19, this Court can and should

reduce Sama’s sentence and allow a deportation. The First Step Act empowers courts

to grant compassionate release when a person’s health conditions and family

circumstances warrant release. They may release people when the BOP’s provision of

health care is inadequate. See, e.g., United States v. Beck, No. 1:13-CR-186-6, 2019 WL

2716505, at *7 (M.D.N.C. June 28, 2019) (citing negligent treatment of breast cancer);

United States v. York, No. 3:11-CR-76, 2019 WL 3241166, at *2 (E.D. Tenn. July 18,

2019) (noting allegation BOP ignored recommendations of outside specialists).

              The COVID-19 pandemic alone is an extraordinary circumstance. And, when

combined and in conjunction with Sama’s health and his wife’s health issues s from the

COVID-19. Thus, courts are exercising their authority to grant release under




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6
 Prisons and Jails are Vulnerable to COVID-19 Outbreaks, The Verge (Mar. 7, 2020) at
https://bit.ly/2TNcNZY.

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§ 3582(c)(1)(A)(i).7 This Court should do the same for Mr. Sama. See, e.g., Samy v. United

States, No. 2:16-cr-20610-AJT-DRG, ECF No. 88, Pg. ID 1099–1102.

                                              CONCLUSION

         Under § 3582(c)(1)(A), if this Court reduces Mr. Sama’s sentence, the Court may

allow a deportation. Mr. Sama respectfully requests this Court order his immediate

release and deportation.

                                                      Respectfully Submitted,

                                                      FEDERAL COMMUNITY DEFENDER


                                                      s/Jonathan M. Esptein
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Dated: June 29 2020,




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  See, e.g., United States v. Tran, 8:08ͲcrͲ197ͲDOC, Dkt. No. 405 (C.D. Cal. Apr. 10, 2020) (ordering
compassionatereleaseinlightofBOP’sinabilitytoprotectvulnerableinmatesfromCOVIDͲ19);United
States v. Smith, No. 1:12ͲcrͲ133ͲJFK, Dkt. No. 197 (S.D.N.Y. Apr. 13, 2020) (granting release; finding
exhaustionwaivableandwaived);UnitedStatesv.Trent,CaseNo.16ͲcrͲ178,ECFNo.106(N.D.Cal.Apr.
9,2020)(grantingcompassionatereleaseinlightofCOVIDͲ19);UnitedStatesv.Clagett,CaseNo.2:97ͲcrͲ
265ͲRSL,Dkt.No.238(W.D.Wash.Apr.9,2020)(grantingstipulatedmotionforcompassionaterelease
inlightofsevererisksposedbyCOVIDͲ19);UnitedStatesv.Plunk,CaseNo.3:94ͲcrͲ36ͲTMB(D.Alaska
Apr.9,2020)(grantingcompassionatereleaseinlightofCOVIDͲ19);UnitedStatesv.McCarthy,2020WL
1698732(D.Conn.Apr.8,2020)(grantingcompassionatereleaseandwaivingexhaustionrequirement
fordefendantatseriousriskfromCOVIDͲ19.

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                                                CERTIFICATEOFSERVICE

          Thiscertifiesthatontheabovedate,theforegoingpaperwasfiledundersealwiththe

clerkoftheCourtusingtheECFsystem,andcopieswereserveduponallpartiesofrecord.

                                                   /s/JonathanM.Epstein
                                                   DeputyDefender




                                                           Respectfully submitted,

                                                           FEDERAL COMMUNITY DEFENDER OFFICE

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                                                           P38101
Dated: June 29, 2020


                                                 CERTIFICATE OF SERVICE

                               Counsel certifies that on the above date, the foregoing paper was filed with

                    the clerk of the Court using the ECF system, which will send notification to opposing

                    counsel.




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